          Case 5:21-cv-00298-OLG Document 1 Filed 03/25/21 Page 1 of 7



                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                             SAN ANTONIO DIVISION

AMBER NICOLE MENDOZA                         §
RODRIGUEZ                                    §
                                             §
       Plaintiff,                            §
                                             §
VS.                                          §          Case No. 5:21-cv-298
                                             §
BRYAN KENT PHILLIPS and                      §
GULLY TRANSPORTATION, INC.                   §
                                             §
       Defendants.                           §          Jury Trial Demanded

                         PLAINTIFF’S ORIGINAL COMPLAINT

TO THE HONORABLE JUDGE OF SAID COURT:

       NOW COMES Plaintiff, Amber Nicole Mendoza Rodriguez, and files her Original

Complaint against Defendants Bryan Kent Phillips (“Phillips”) and Gully Transportation,

Inc. (“Gully Transportation”) (collectively referred to as “Defendants”). In support

thereof, Plaintiff would respectfully show the Court as follows:

                                             I.
                                         PARTIES

       1.1     Plaintiff, Amber Nicole Mendoza Rodriguez, is a Texas citizen who resides

in San Antonio, Texas.

       1.2     Defendant, Bryan Kent Phillips, is a citizen of Illinois who resides in

Quincy, Adams County, Illinois. Defendant Phillips may be served with process at 3820

Wiseman Lane, Quincy, Illinois 62305.

       1.3     Defendant, Gully Transportation, Inc., is a corporation incorporated under

the laws of Illinois. Its principal office is located at 3820 Wiseman Lane, Quincy, Illinois

62305. As evidenced by the location of the crash described below, Gully Transportation

conducts business in Texas, engages in continuous and systematic contacts with the State
            Case 5:21-cv-00298-OLG Document 1 Filed 03/25/21 Page 2 of 7



of Texas, and derives substantial economic profits from its business activities in Texas.

Gully Transportation was the employer of Phillips, who was operating a Gully

Transportation freightliner and hauling a Gully Transportation trailer at the time of the

crash that makes the basis of this lawsuit. Gully Transportation may be served with

process by serving its registered agent, William M. Gully, 3820 Wiseman Lane, Quincy,

Illinois 62301.

                                           II.
                                  VENUE AND JURISDICTION

        2.1     Venue is proper in this District pursuant to 28 U.S.C § 1391(b)(2) because a

substantial part of the events or omissions giving rise to the claim occurred in the Western

District of Texas. Specifically, the crash that makes the basis of this lawsuit occurred in

Bexar County, Texas, which is located in the San Antonio Division of the Western District

of Texas.

        2.2     This Court has original jurisdiction over this case pursuant to 28 U.S.C.

§ 1332(a)(1) as the matter in controversy exceeds the sum of $75,000 and there is complete

diversity of citizenship between Plaintiff and all Defendants.

        2.3     This Court has specific personal jurisdiction over the Defendants because

they purposely directed their activities at Texas and the litigation is the result of injuries

that arise out of, and relate to, those activities. In particular, this action arises foreseeably

from Defendants’ conduct following their purposeful choice to drive a vehicle on the

roadways of Texas and their failure to exercise ordinary care while doing so. Defendants

should have reasonably anticipated being haled into court in Texas given the substantial

connection between their activities in Texas and the claims made in this lawsuit. Thus,

this action seeks to adjudicate issues deriving directly from or connected directly with

their tortious activities in Texas, and this Court’s personal jurisdiction over these

Plaintiff’s Original Complaint                                                         Page 2 of 7
           Case 5:21-cv-00298-OLG Document 1 Filed 03/25/21 Page 3 of 7



Defendants in this action arises from that nexus. Defendants themselves purposefully

created the contacts with Texas that are relevant to establishing this Court’s jurisdiction,

and they purposefully availed themselves of the privilege of conducting activities within

Texas. Defendants have sufficient minimum contacts with the State of Texas to support

the exercise of personal jurisdiction over them by a court in the forum state. Based upon

the direct connection between the Defendants’ activities in Texas and the claims made

against them, as well as the minimum contacts purposefully made with the State of Texas,

the exercise of personal jurisdiction here is consistent with the Texas Long Arm statute

and with due process; it does not offend traditional notions of fair play and substantial

justice; and is neither unfair nor unreasonable.

                                          III.
                                    BACKGROUND FACTS

        3.1     According to the Texas Peace Officer crash report, on January 21, 2021,

Plaintiff was lawfully traveling southbound on US 281 North in Bexar County, Texas, in

the left-center lane. At the same time, Defendant Phillips, operating a 1999 freightliner

owned by Defendant Gully Transportation (VIN 1FUYDDYB5XP919300), was traveling

next to her in the far-left lane. Suddenly and without warning, Defendant Phillips

attempted to change lanes, violently striking the driver-side rear quarter-panel of Ms.

Rodriguez’s vehicle with the front of his tractor-trailer. As a result of the initial impact,

Ms. Rodriguez’s vehicle spun ninety degrees to the left and struck the center median head

on. Plaintiff was severely injured as a result of the collision.

        3.2     At the time of the crash, Defendant Phillips was acting in the course and

scope of his employment with Gully Transportation and acting in furtherance of Gully

Transportation’s business.



Plaintiff’s Original Complaint                                                     Page 3 of 7
           Case 5:21-cv-00298-OLG Document 1 Filed 03/25/21 Page 4 of 7



                CAUSES OF ACTION AGAINST DEFENDANTS
          BRYAN KENT PHILLIPS AND GULLY TRANSPORTATION, INC.

                                           IV.
                             NEGLIGENCE AND VICARIOUS LIABILITY

        4.1      Plaintiff incorporates and realleges each of the paragraphs above as though

fully set forth herein at length.

        4.2      Defendants Phillips and Gully Transportation committed acts of omission

and commission, which collectively and severally constitute negligence. That negligence

proximately caused the crash in question and Plaintiff’s damages.

        4.3      Defendants Phillips and Gully Transportation owed a duty to Plaintiff to

exercise ordinary care. Defendants Phillips and Gully Transportation’s acts and/or

omissions of negligence include, without limitation, one or more of the following:

                 a. Failing to operate the freightliner in a reasonable and prudent manner;

                 b. Failing to keep a proper lookout for warnings, other vehicles,
                    obstructions or changing traffic conditions as a person of ordinary care
                    would have kept;

                 c. Failing to control his speed;

                 d. Failing to pay attention to attendant traffic and driving conditions;

                 e. Failing to take proper evasive action as a person of ordinary care
                    would have under the circumstances;

                 f. Failing to maintain a lane of travel; and,

                 g. Failing to timely apply the brakes of the freightliner.

        4.4      Each of the above acts and/or omissions constitutes negligence, and each

was a proximate cause of the incident that makes the basis of this suit and a proximate

cause of the injuries and damages sustained by Plaintiff and to be sustained by Plaintiff

in the future.



Plaintiff’s Original Complaint                                                     Page 4 of 7
              Case 5:21-cv-00298-OLG Document 1 Filed 03/25/21 Page 5 of 7



        4.5       Defendant Gully Transportation is liable for Defendant Phillips’ conduct

under the doctrine of respondeat superior. Defendant Phillips was employed by

Defendant Gully Transportation as its authorized agent, servant, and/or employee on

the date in question and was acting in that capacity at the time of the occurrence that

gives rise to this lawsuit. Alternatively, Defendant Phillips was the statutory employee

of Defendant Gully Transportation pursuant to the Federal Motor Carrier Safety

Regulations. See 49 C.F.R. § 376.1, et seq. Defendant Phillips was acting in furtherance

of the business of Defendant Gully Transportation at the time of the collision and was in

the course and scope of his employment or agency with Defendant Gully Transportation

at the time of the collision.

                                          DAMAGES

                                             V.
                                       ACTUAL DAMAGES

        5.1      As a result of the subject crash, Plaintiff has suffered in the past, and will

likely suffer in the future, damages for which she seeks recovery herein. These damages

were proximately caused by the negligence of the Defendants, and include but are not

limited to:

        (a)      Past and future pecuniary loss;

        (b)      Past and future medical bills;

        (c)      Physical pain;

        (d)      Mental anguish;

        (e)      Physical impairment;

        (f)      Disfigurement;

        (g)      Lost earnings;

        (h)      Lost earning capacity; and,

Plaintiff’s Original Complaint                                                       Page 5 of 7
              Case 5:21-cv-00298-OLG Document 1 Filed 03/25/21 Page 6 of 7



        (i)      Reasonable and necessary medical expenses.

                                          VI.
                        PRE-JUDGMENT AND POST-JUDGMENT INTEREST

        6.1      Plaintiff seeks pre-judgment and post-judgment interest at the maximum

legal rate.

                                            VII.
                                    CONDITIONS PRECEDENT

        7.1      All conditions precedent to Plaintiff’s right to recover and Defendants’

liability have been performed, have occurred and/or have been waived.

                                              VIII.
                                          JURY DEMAND

        8.1      Plaintiff requests a jury trial and tenders the requisite jury fee.

                                                IX.
                                       PRAYER FOR RELIEF

        9.1      WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that Defendants

be cited to appear and answer herein, that this cause be set for trial before a jury, and that

Plaintiff recover judgment of and from Defendants for her actual and exemplary

damages, in such an amount as the evidence may show and the jury may determine to

be proper, together with pre-judgment and post-judgment interest, costs of suit, and such

other and further relief to which Plaintiff may justly show herself entitled, whether at law

or in equity.

        DATED this 25th day of March 2021.

                                              Respectfully Submitted,

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Plaintiff’s Original Complaint                                                         Page 6 of 7
           Case 5:21-cv-00298-OLG Document 1 Filed 03/25/21 Page 7 of 7



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Plaintiff’s Original Complaint                                            Page 7 of 7
